UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NEW YORK

DIANE T. CLARKE, ILANA KOPMAR, ISAAC
ALTMAN and DAVID ROSENFELD,

Plaintiffs,
~against- Case No.: 2:23-cv-08869

THE ASSOCIATION OF LEGAL AID
ATTORNEYS, AMALGAMATED LOCAL UNION

2325 OF THE INTERNATIONAL UNION, UNITED DECLARATION OF DIANE T.
AUTOMOBILE, AEROSPACE AND CLARKE IN OPPOSITION TO
AGRICULTURAL IMPLEMENT WORKERS OF DEFENDANTS’ MOTION TO
AMERICA (UAW), AFL-CIO, LISA OHTA, BRET J. DISSOLVE THE TEMPORARY
TAYLOR, JEREMY BUNYANER, EMILY C. RESTRAINING ORDER
EATON, MARTYNA KAZNOWSKI, GILLIAN R.

KRESS, IOANA CALIN, and PUJA PAUL,

Defendants.

I, DIANE T. CLARKE, declare as follows:

1. I am one of the Plaintiffs in the above-referenced action.

2. I am an attorney licensed to practice law in the State of New York.

3, I am employed by the Legal Aid Society of Nassau County, operating as a Public
Defender in and for the County of Nassau within the State of New York.

4, Iam a dues-paying member of the Association of Legal Aid Attorneys
Amalgamated Local Union 2325 of the International Union, United Automobile, Aerospace and
Agricultural Implement Workers of America (UAW), AFL-CIO (“ALAA”).

5. Attached hereto as Exhibit A is a true and accurate copy of a purported digest of
select statements and positions on matters of public concern by the ALAA. Exhibit A was
circulated from the account in the name of the former president of ALAA on the union’s

messaging platform.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
and correct.
Case 2:23-cv-08869-NJC-ARL Document 24 Filed 12/13/23 Page 2 of 2 PagelD #: 420

Executed on this 12" day of December 202
CH he
iane T. Clarke
